DATE: November 3, 2021

                The following cases in which the Court of Appeals issued published opinions have been
      disposed of by the Supreme Court:

          1. Mark Spencer Cady
             v. Commonwealth of Virginia
             Record No. 1595-19-4
             Opinion rendered by Judge Malveaux
              on August 11, 2020
             Judgment of Court of Appeals reversed and final judgment entered
              reinstating trial court’s conviction order by opinion rendered on October 28, 2021
             (201204)

          2. Norman L. Blowe, Jr.
             v. Commonwealth of Virginia
             Record No. 0680-19-4
             Opinion rendered by Judge Russell
              on October 27, 2020
             Dismissed as to assignment of error IV (Rule 5:17(c)(1)(iii)) and refused as to other
              assignments of error (210241)

          3. Jordan Alexander Price
              v. Natasha Yvonne Peek, f/k/a Natasha Y. Price
             Record No. 0852-20-3
              Opinion rendered by Chief Judge Decker
               on December 22, 2020
              Refused (210089)

          4. Ryan Thomas Pick
             v. Commonwealth of Virginia
             Record No. 1945-19-2
             Opinion rendered by Judge O’Brien
              on January 12, 2021
             Refused (210173)

          5. Lamont Lendell Bagley
             v. Commonwealth of Virginia
             Record No. 0249-20-2
             Opinion rendered by Chief Judge Decker
              on February 23, 2021
             Refused (210390)
6. Juan Luis Lopez
    v. Commonwealth of Virginia
   Record No. 0266-20-1
    Opinion rendered by Judge Athey
     on March 2, 2021
    Refused (210427)
